
LANDRY, Judge.
For the reasons this day assigned in Belanger v. Employers Mutual Liability Insurance Company of Wisconsin, et al., La.App., 159 So.2d 500, with which the instant *511matter was consolidated for trial and upon appeal, it is ordered, adjudged and decreed that the judgment of the trial court in favor of plaintiff, Joseph J. Pizzolatto, and against defendants, Douglas Dartez, Clark Sherwood, Contractor, and Employers Mutual Liability Insurance Company of Wisconsin, in solido, in the sum of $1,862.77, be and the same is hereby annulled, reversed and set aside and judgment rendered herein in favor of said defendants, dismissing plaintiff's demands at plaintiff’s costs.
Reversed and rendered.
